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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 CRYSTAL BOLDUC,

                Plaintiff,

       vs.                                  Civil Action No. 4:22-cv-615-ALM
 AMAZON.COM INC.,

                Defendant.


                    DEFENDANT AMAZON.COM, INC.’S
                  MOTION TO STRIKE CLASS ALLEGATIONS




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 DEFENDANT AMAZON.COM, INC.’S MOTION TO STRIKE CLASS ALLEGATIONS 1

          This Court should strike Plaintiff’s class allegations as deficient on their face because

 neither discovery nor more time will allow Plaintiff to remedy the deficiencies. Though styled as

 a class action, Plaintiff’s First Amended Complaint (“FAC” or “Complaint”) fails to satisfy the

 requirements of Federal Rule of Civil Procedure 23. Plaintiff seeks to represent three discrete

 subclasses: (1) “all white and Asian individuals who stand ‘able and ready to apply’ to Amazon’s

 ‘delivery service partners’ [“DSP”] program” (the “First Subclass”); (2) “all white and Asian

 individuals who will apply to or participate in Amazon’s [DSP] program in the future, and who

 will be subjected to racial discrimination from Amazon absent relief from this Court” (the “Second

 Subclass”); and (3) “all current white and Asian participants in Amazon’s [DSP] program who are

 being subjected to racial discrimination by Amazon” (the “Third Subclass”). FAC ¶ 26. Plaintiff’s

 class allegations are facially defective in multiple ways, and all three subclasses should be stricken.

          To begin, Plaintiff admits that she is not a member of the Second and Third Subclasses and

 thus such subclasses should be stricken. She concedes that she is not a DSP owner, 2 has not applied

 to become a DSP owner, and will not apply to become a DSP owner in the future unless Amazon

 takes certain actions first. See id. ¶¶ 19, 24. Thus, under today’s status quo, Plaintiff is not a

 present or future applicant or participant in the DSP program. Id. ¶ 26.

          Moreover, the Second Subclass fails for an additional reason: it is untethered to the facts

 alleged in the Complaint and is therefore unsupportable.                      Plaintiff nowhere alleges facts



 1
    This Motion is filed subject to and without waiver of the arguments in Amazon.com, Inc.’s (“Defendant” or
 “Amazon”) Motion to Dismiss that has been filed simultaneously, including that Plaintiff lacks standing. Furthermore,
 to the extent Plaintiff seeks to represent unnamed class members who have signed arbitration agreements with any
 affiliate or subsidiary of Defendant, Defendant does not waive and expressly reserves the right to compel arbitration
 as to any such individuals.
 2
   Plaintiff refers throughout her Complaint to individuals who are, or who become, “delivery service partners.” To be
 accurate, it is actually companies (not individuals) who become delivery service partners, but the individuals who own
 (or will own) those companies go through the application process on behalf of their companies.


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 demonstrating that DSP applicants, who must meet rigorous eligibility requirements to become

 DSP owners, suffer any discrimination in the DSP application process. She does not, for example,

 claim that Amazon refuses to accept applicants because of their race or gives priority to applicants

 because of their race. Instead, she alleges that Amazon discriminates against white and Asian-

 American DSP owners—that is, those who have successfully satisfied the application process and

 actually become DSP owners—by providing a $10,000 grant to certain subsets of DSP owners

 based on race. Thus, to the extent that the Second Subclass includes those “who will apply to” the

 DSP program, it is unsupportable on its face. Id.

         The First Subclass, for its part, is neither ascertainable nor composed of anyone with

 Article III standing. The Court has no objective or reliable way to determine which persons across

 the entire world “stand able and ready to apply” to the DSP program. Id. (quotation marks

 omitted). And as explained in the Motion to Dismiss (“MTD”), Plaintiff’s allegation that she is

 “able and ready to apply” is insufficient to confer standing upon her, not to mention the members

 of this putative subclass. Neither Plaintiff nor any putative class member who is merely prepared

 to apply has suffered any injury by the provision of a grant to certain DSP owners and therefore

 no class is appropriate. Plaintiff’s lack of standing precludes her from representing even her own

 interests in this case, let alone acting as a representative for the interests of a class.

         Where class allegations are deficient on their face, a district court may strike them at the

 pleading stage, particularly where neither discovery nor more time will allow the plaintiff to

 remedy the deficiencies. This is such a case. No amount of discovery or time will change the

 legal deficiencies inherent in Plaintiff’s subclass definitions. If this action is to proceed at all, it

 must proceed on an individual basis.




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                                          I.       LEGAL STANDARD

          Class actions have four threshold requirements: (1) numerosity, (2) commonality,

 (3) typicality, and (4) adequacy of representation. See Fed. R. Civ. P. 23(a); Amchem Prod., Inc.

 v. Windsor, 521 U.S. 591, 613 (1997). In addition, the action must satisfy one of the class types

 set forth in Rule 23(b). Amchem Prod., 521 U.S. at 614. The plaintiff bears the burden to plead

 each of these requirements. See Wilson v. Zarhadnick, 534 F.2d 55, 57 (5th Cir. 1976); Rosa v.

 Am. Water Heater Co., 177 F. Supp. 3d 1025, 1042 (S.D. Tex. 2016).

          Rule 23, which requires evaluation of class issues at “an early practicable time,” authorizes

 a motion to strike class allegations. Fed. R. Civ. P. 23(c)(1)(A), (d)(1)(D); see, e.g., Pilgrim v.

 Universal Health Care, LLC, 660 F.3d 943, 949–50 (6th Cir. 2011) (upholding grant of Rule 23

 motion to strike class allegations); Markey v. La. Citizens Fair Plan, No. 06-5473, 2008 WL

 5427708, at *1 (E.D. La. Dec. 30, 2008) (granting Rule 23 motion to strike class allegations that

 were deficient on the face of the pleadings). 3 As Rule 23 states: “[T]he court may issue orders

 that . . . require that the pleadings be amended to eliminate allegations about representation of

 absent persons.” Fed. R. Civ. P. 23(d)(1)(D).

          The Supreme Court has observed that “sometimes” class certification issues “are plain

 enough from the pleadings.” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982), cited in

 Rosa, 177 F. Supp. 3d at 1042–43 (granting motion to strike class allegations where it was apparent


 3
   Although some courts have evaluated motions to strike class allegations as arising under Rule 12(f), the prevailing
 view, and that adopted by courts within the Fifth Circuit, is that such motions should be evaluated as arising under
 Rule 23 itself or Rule 12(b)(6). Compare Donelson v. Ameriprise Fin. Servs., Inc., 999 F.3d 1080, 1091–92 (8th Cir.
 2021) (applying Rule 12(f) standard and concluding that motion to strike class allegations should have been granted),
 cert. denied, 142 S. Ct. 2675 (May 2, 2022), with John v. Nat’l Sec. Fire & Cas. Co., 501 F.3d 443, 445 (5th Cir.
 2007) (applying Rule 12(b)(6) standard to affirm grant of motion to dismiss class allegations), Rosa, 177 F. Supp. 3d
 at 1042–43 (applying Rule 12(b)(6) standard to grant motion to strike class allegations), and Markey, 2008 WL
 5427708, at *1 (applying Rule 23 standard to grant motion to strike class allegations). Regardless of the specific rule,
 courts apply the same standard, analyzing whether it is facially apparent from the pleadings that the Rule 23 class
 action requirements are not met. See Donelson, 999 F.3d at 1092 (Rule 12(f)); Rosa, 177 F. Supp. 3d at 1042 (Rule
 12(b)(6)); Markey, 2008 WL 5427708, at *2 (Rule 23).


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 from face of pleading that putative class was unsupportable). “[F]or an action to go forward under

 Rule 23, the pleader must set forth sufficient allegations to show that the four requirements set

 forth in subdivision (a) are satisfied and that the action falls within one of the three categories

 described in subdivision (b).” 7B Charles Alan Wright & Arthur R. Miller, Federal Practice &

 Procedure § 1798 (3d ed. 2022). “There must,” in other words, “be an adequate statement of the

 basic facts to indicate that each requirement of the rule is fulfilled.” John, 501 F.3d at 445 n.4

 (quoting In re Am. Med. Sys., Inc., 75 F.3d 1069, 1079 (6th Cir. 1996)).

         In the Fifth Circuit as elsewhere, a district court may “dismiss the class allegation on the

 pleadings” anytime it is “facially apparent” that the Rule 23 requirements are not met. Id. at 445

 & n.4; see also Pilgrim, 660 F.3d at 949 (holding that district court could grant a motion to strike

 class allegations based on pleadings alone without discovery); Donelson, 999 F.3d at 1092 (“It is

 sensible to permit class allegations to be stricken at the pleading stage if it is apparent from the

 pleadings that the class cannot be certified . . . .” (cleaned up)). To put it differently, when neither

 “discovery” nor “more time” will allow the plaintiff to fix the problems with class treatment, the

 court may resolve the class issues on the pleadings alone. Pilgrim, 660 F.3d at 949. 4

                                             II.      ARGUMENT

         Importantly, each of Plaintiff’s three subclasses here must independently meet the

 requirements of Rule 23. See Simms v. Jones, 296 F.R.D. 485, 499 (N.D. Tex. 2013), aff’d sub

 nom. Ibe v. Jones, 836 F.3d 516 (5th Cir. 2016). None of them do. Plaintiff does not even belong

 to the Second and Third Subclasses and thus cannot operate as a class representative for such


 4
  See also Markey, 2008 WL 5427708, at *2 (granting motion to strike because there was no “discovery that would be
 necessary or helpful to the certification decision” (internal quotation marks omitted)); Cnty. of Dorchester v. AT&T
 Corp., 407 F. Supp. 3d 561, 565–66 (D.S.C. 2019) (“A court may grant a motion to strike class allegations where the
 pleading makes clear that the purported class cannot be certified and no amount of discovery would change that
 determination.” (internal quotation marks omitted)); Wexler v. AT&T Corp., 323 F.R.D. 128, 129 (E.D.N.Y. 2018)
 (concluding that “the lack of discovery [was] not a cause for concern” where the undisputed facts showed that class
 action requirements were not met).


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 classes. And the First Subclass is neither ascertainable nor composed of anyone with standing.

 For these reasons, the Court should strike Plaintiff’s class allegations.

 A.     The Second and Third Subclasses Must Be Stricken.

        1.      Plaintiff Is Not a Member of the Second and Third Subclasses.

        Class representatives must be capable of “fairly and adequately protect[ing] the interests

 of the class” and must have claims that “are typical of the claims . . . of the class.” Fed. R. Civ. P.

 23(a)(3), (4). To satisfy these threshold requirements, “[a] class representative must” both “be part

 of the class” and also “possess the same interest and suffer the same injury as the class members.”

 Amchem Prod., 521 U.S. at 625–26 (internal quotation marks omitted); see also Wal-Mart Stores,

 Inc. v. Dukes, 564 U.S. 338, 349 (2011) (explaining that “the class claims” must be “fairly

 encompassed by the named plaintiff’s claims” (internal quotation marks omitted)). Here, neither

 of these requirements is met for the Second and Third Subclasses.

        Plaintiff is not a member of the Second or Third Subclasses. She wishes to represent those

 “who will apply to or participate in” the DSP program, as well the program’s “current . . .

 participants.” FAC ¶ 26. Yet she has not herself applied to become a DSP owner and even

 represents that she “will not apply” to become a DSP owner “until Amazon eliminates” the

 $10,000 grant or “extend[s]” it “to whites and Asians” as well. Id. ¶¶ 19, 24 (emphasis added).

 Plaintiff is therefore a stranger to a class of current and future applicants or participants in the

 DSP program. See E. Tex. Motor Freight Sys. Inc. v. Rodriguez, 431 U.S. 395, 403 (1977)

 (rejecting class certification where representatives “were not members of the class of

 discriminatees they purported to represent”). Because Plaintiff’s Complaint admits the facts that

 exclude her from the proposed Second and Third Subclasses, no amount of discovery is going to

 remedy the deficiency.




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        For identical reasons, Plaintiff has not suffered “the same [alleged] injury as the class

 members.” Amchem Prod., 521 U.S. at 626 (internal quotation marks omitted). In fact, Plaintiff

 has not suffered any injury at all because, as shown on the face of her pleadings, she is not a current

 DSP owner, has not applied (and will not apply unless the internal policy at issue is changed) to

 become a DSP owner, and has not been injured in any way. See MTD at § I.B.; E. Tex. Motor

 Freight Sys., 431 U.S. at 403–04 (rejecting sufficiency of class representatives who lacked

 qualifications to be hired and so were uninjured by challenged discriminatory practices).

        Plaintiff cannot fairly and adequately represent a class to which she does not belong. See

 id. It follows “a fortiori” that her claims are “not typical of” the class members’ claims.

 Machella v. Cardenas, 653 F.2d 923, 926 (5th Cir. Unit A 1981); see also Stirman v. Exxon Corp.,

 280 F.3d 554, 562 (5th Cir. 2002) (explaining that “the critical inquiry” for typicality “is whether

 the class representative’s claims have the same essential characteristics of those of the putative

 class” (internal quotation marks omitted)). For these reasons, the Court should, at minimum, strike

 the Second and Third subclasses. See Rosa, 177 F. Supp. 3d at 1052–53 (granting motion to strike

 national class and portions of subclass).

        2.      The Second Subclass Impermissibly Includes People Who Are Unaffected by
                the Challenged Practice and Would Require Individualized Inquiries,
                Necessarily Defeating Any Potential Class Certification.

        Plaintiff is not only a stranger to the Second Subclass, but the subclass is also unsupportable

 on its face. Plaintiff’s core allegation in this case is that Amazon discriminates against Asian-

 American and white DSP owners by providing a $10,000 “bonus” to Black, Latinx, and Native

 American DSP owners. FAC at 1. Importantly, the Complaint does not allege facts that would

 demonstrate any discrimination by Amazon in the DSP application process, a process that is

 lengthy, competitive, and highly selective, with successful applicants needing to satisfy several




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 threshold eligibility requirements before being selected as DSP owners. See MTD at 4-7. 5 The

 alleged discrimination—the dissemination of a diversity grant—occurs if, and only if, an applicant

 actually successfully becomes a DSP. For that reason, it is illogical to define the subclass to

 include “all white and Asian individuals who will apply to or participate in” the DSP program.

 FAC ¶ 26 (emphasis added). Applicants, after all, do not suffer any discrimination in the

 application process.

         Indeed, there are numerous applicants to the DSP program whose applications were or

 would be denied on the merits (e.g., because they lack sufficient experience with recruiting, hiring,

 and onboarding employees) or who did or may voluntarily withdraw for reasons unrelated to the

 grant program (e.g., because they decide to pursue an alternative business). Such applicants would

 be entirely unaffected by the injunctive relief Plaintiff requests because they have never been in a

 position to be affected by the diversity grant, and their applications failed or will fail to progress

 for reasons unrelated to the challenged practice. See M.D. ex rel. Stukenberg v. Perry, 675 F.3d

 832, 846 (5th Cir. 2012) (“Rule 23(b)(2) applies only when a single injunction or declaratory

 judgment would provide relief to each member of the class.” (emphasis added) (quoting Wal-Mart,

 564 U.S. at 360)).

         For similar reasons, such putative class members would not be able to prove the causation

 element of a Section 1981 claim, much less demonstrate an entitlement to damages for the

 requested Rule 23(b)(3) class. See, e.g., E. Tex. Motor Freight Sys., 431 U.S. at 403–04 & n.9

 (applicants who lack qualifications to be hired suffer no injury as a result of discriminatory hiring

 practices); Phelps v. Wichita Eagle-Beacon, 886 F.2d 1262, 1267 (10th Cir. 1989) (“merely



 5
   As Amazon’s Motion to Dismiss explains, the application process and requirements are detailed in FAQs on
 Amazon’s website, which are incorporated into Plaintiff’s Complaint and thus are subject to judicial notice. See MTD
 at 4-9 & n.3.


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 alleg[ing] possible loss of future opportunities” to enter into a contract is not enough to show injury

 (emphasis in original)); Smart v. Int’l Bhd. of Elec. Workers, Loc. 702, 315 F.3d 721, 726 (7th Cir.

 2002) (rejecting Section 1981 claim when plaintiff “point[ed] to no contract that he bid on and

 failed to obtain because of racial animus”). And the individualized inquiries necessary to establish

 causation and/or damages as to any given class member would necessarily preclude class

 certification. See Wal-Mart, 564 U.S. at 367 (explaining that “a class cannot be certified on the

 premise that [a defendant] will not be entitled to litigate its statutory defenses to individual

 claims”); see also Comcast Corp. v. Behrend, 569 U.S. 27, 34–38 (2013) (explaining the

 “demanding” nature of Rule 23(b)(3)’s predominance requirement and reversing class certification

 where plaintiffs sought recovery untethered to challenged conduct). 6

 B.       The First Subclass Is Not Ascertainable, and Neither Plaintiff Nor Any Putative
          Subclass Member Has Standing.

          Even assuming that Plaintiff is a member of the First Subclass, 7 which consists of those

 who are “able and ready to apply” to the DSP program, it fails for independent reasons: It is not

 ascertainable, and no one in that subclass has standing. 8 FAC ¶ 26.




 6
   For the reasons set forth in the Motion to Dismiss and elsewhere, the Court should find that mere applicants to the
 DSP program lack standing under any circumstance because they categorically are unaffected by a program applicable
 only to DSP owners. See MTD at § I.B. But even if there were some situation in which an applicant could claim
 injury, it would require individualized inquiries to determine whether, for any given applicant, the application was in
 fact denied on the merits or for some other reason unrelated to the challenged practice.
 7
   Amazon does not concede this point. As explained in the Motion to Dismiss, Plaintiff has not adequately alleged
 that she is able and ready to apply, nor is pleading this conclusory language sufficient to confer standing. See MTD
 at § I.B.
 8
   Because of the key legal deficiencies that arise on the face of Plaintiff’s class allegations, such as lack of
 ascertainability and membership in the various subclasses, this case bears no resemblance to those in which this Court
 has held that the class issues were “better addressed at the certification stage.” Earl v. Boeing Co., No. 4:19-CV-
 00507, 2020 WL 759385, at *14 (E.D. Tex. Feb. 14, 2020) (Mazzant, J.). In Earl, the defendant did not argue that
 the plaintiffs were strangers to the putative class or that the class was unascertainable, whereas here, these legal
 deficiencies arise on the face of the Complaint and follow necessarily from the class definitions. See Earl, No. 4:19-
 CV-00507, ECF No. 19, at 29–33 (filed on Sept. 13, 2019). Thus, Earl and similar cases are distinguishable, and the
 Court should strike Plaintiff’s class allegations now, before discovery.


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        “Where it is facially apparent from the pleadings that there is no ascertainable class, a

 district court may dismiss the class allegation on the pleadings.” John, 501 F.3d at 445. This

 means that there must be “objective criteria” by which the court can “ascertain[]” who the class

 members are. Conrad v. Gen. Motors Acceptance Corp., 283 F.R.D. 326, 328 (N.D. Tex. 2012).

 In particular, courts “have recognized the difficulty of identifying class members whose

 membership in the class depends on each individual’s state of mind.” Simer v. Rios, 661 F.2d 655,

 669 (7th Cir. 1981).

        In Chaffee v. Johnson, for example, the court rejected as “vague and indefinite” a class

 defined as “all persons who are workers for the end of discrimination and segregation in

 Mississippi, for the encouragement of the exercise by [Blacks] in Mississippi of their right to vote

 and to register to vote, and for the exercise and preservation of civil rights generally in

 Mississippi.” 229 F. Supp. 445, 448 (S.D. Miss. 1964), aff’d, 352 F.2d 514 (5th Cir. 1965). The

 court found that this was “not a proper class action” because “the purported class depend[ed] upon

 the state of mind of a particular individual, rendering it difficult, if not impossible, to determine

 whether any given individual [was] within or without the alleged class.” Id.; cf. DeBremaecker v.

 Short, 433 F.2d 733, 734–35 (5th Cir. 1970) (per curiam) (rejecting injunctive-relief class defined

 as “residents of this State active in the ‘peace movement’” as being unascertainable and ill-

 defined).

        The same is true here. Determining which “white and Asian individuals . . . stand ‘able

 and ready to apply’” would require probing a state of mind. FAC ¶ 26. There are simply no

 “objective criteria” to guide the Court in such an inquiry. Conrad, 283 F.R.D. at 328. For these

 reasons, the First Subclass is not ascertainable.




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         Moreover, even if the First Subclass were somehow ascertainable, no one in it has standing.

 As explained in the Motion to Dismiss, Plaintiff’s allegation that she is “able and ready to apply”

 is insufficient to confer standing for her individual claim. See MTD at § I.B. After all, the diversity

 grant, which is provided only to DSP owners, does not in any way injure those who merely stand

 “able and ready to apply,” and Plaintiff nowhere alleges that she or any class member would have

 the requisite qualifications to become a DSP even if they were to apply. See E. Tex. Motor Freight

 Sys., 431 U.S. at 403–04 (rejecting sufficiency of class representatives who “could have suffered

 no injury as a result of the alleged discriminatory practices” because they “lacked the qualifications

 to be hired as line drivers” and were “therefore simply not eligible to represent a class of persons

 who did allegedly suffer injury” (emphasis added)). A case cannot proceed at all, let alone can a

 class be certified, when the named plaintiff and the entire class lacks standing. See Earl v. Boeing

 Co., 53 F.4th 897, 899–900 (5th Cir. 2022) (dismissing case where “plaintiffs [did] not plausibly

 allege[] that any class member suffered either physical or economic injury” to possess “Article III

 standing”). The First Subclass must therefore be stricken. 9

                         III.     CONCLUSION AND REQUESTED RELIEF

         For the foregoing reasons, Amazon respectfully requests that the Court strike Plaintiff’s

 class allegations from the Complaint, see FAC ¶¶ 26–33, and require that this case proceed, if at

 all, only on an individual basis. Amazon further respectfully requests any other relief to which it

 is justly entitled.




 9
   Even if the First Subclass somehow did have Article III standing, the issues of causation and damages would raise
 individualized inquiries precluding class certification, for the reasons explained above in Section A.2.


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 Dated: January 31, 2023

                                              Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2023, I electronically filed the above Motion to Strike

 Class Allegations with the Clerk of the Court using the CM/ECF system, which will automatically

 send email notification of such filing to all attorneys of record.



                                                          /s/ Natali Wyson
                                                          Natali Wyson




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                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(h)-(i), counsel for Defendant reached out to Plaintiff’s

 counsel on November 8, 2022 to initiate a meet and confer regarding the substance of this Motion.

 Counsel for both Parties (Natali Wyson, Margaret Allen (in part), and David Carpenter on behalf

 of Defendant Amazon.com, Inc., and Jonathan Mitchell and Gene Hamilton (in part) on behalf of

 Plaintiff Crystal Bolduc) conferred on multiple occasions via email and phone regarding the

 substance of this Motion, during which all Parties had the opportunity to express their respective

 views concerning the disputes. The Parties could not reach an agreement as to the issues set forth

 in this Motion due to differing views regarding the requirements of Federal Rule of Civil Procedure

 23; these issues are those over which the Parties have conclusively reached an impasse and are

 ripe for this Court’s determination. Counsel has complied with the meet and confer requirement

 in Local Rule CV-7(h). The Motion is opposed.

                                                        /s/ Natali Wyson
                                                        Natali Wyson




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